* Original Instrument "" {;=: § q §: m
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Notice to Principal is Noticc to Agent == lam 1 ,
Notice to Agent is Notice to Principal
reference; Zm-\ UEC 2\ p 3: 143

“UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE ,J! 31 D\STR\C~| 59

AT KNOXVILLE ~L‘.,`S,TERH U&ST. Ei.
UNITED STATES OF AMERICA ) Reference Nurnber: ’ "
Plaintiff ) No. 3:17-CR~82 and all associated numbers
v. ) VARLAN/SHIRLEY,
) USDJ/USMJ
RANDALL KEITH BEANE )
Defendant )

DECLARATION ADOPTING PRAECIPE

With iiill responsibility, accountability and liability, Without prejudice, nunc pro tunc
praeterea preterea, I duly declare, validate and verify With original sworn signature and seal
thatI am competent to make this declaration, for all to rely upon. l duly, declare, celtify,
verify and validate as follows:

I. PRAECIPE TO ENTER DISMISSAL WITH PREJUDICE AND DECLARATION
OF DUE CAUSE, “PRAECIPE AND DECLARATION OF FACTS” of Heather Ann-
'l`ucci Jarraf , With filing date '2017-09-29‘ and With reference of 'Doc. # 43', restated in
entirety;

II. PRAECIPE of Heather Ann-Tucci Jarraf , With filing date '2017-10-17‘ and With
reference of 'Doc. # 54', restated in entirety;

III. NOTICE OF CORRECTION of Heather Ann-Tucci Jarraf , With filing date
’2017-10-18' and with reference of 'Doc. # 56', restated in entirety;

Articles I, II and III above, restated and incorporated in entirety by reference as if set forth
in full, and all said records and documents are duly declared:

A. Adopted in entirety;
B. Restated in entirety;

I duly re-certify, verify and validate With my full responsibility, accountability and liability
that the foregoing is true, accurate and complete, for all to rely upon.

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Origin`al,-Randall Keith Bcane

  

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Cert'iiicate of Service

I certii`y, that on ?Z,/ December 2017 this original instrument was caused to be
delivered by personal service to alleged Clerk of Court, and duly scanned, with certified
copy out. Furthermore a scan of this original instrument was caused to be filed and
entered electronically. Notice of this filing Will be sent by operation of the alleged
Court's electronic filing system to all alleged parties indicated on the electronic iiling
receipt. Alleged parties may access this liling through the alleged Court's electronic
iiling system.

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